Form DBCLMFRM

                                   United States Bankruptcy Court
                                    MIDDLE DISTRICT OF TENNESSEE
                                               Case No. 3:17−bk−04932
                                                     Chapter 13

In re:
    STEPHEN JETTON TAYLOR
    2606 MERCER PLACE
    Thompsons Station, TN 37179
Social Security No.:
   xxx−xx−1340
Employer's Tax I.D. No.:



                    NOTICE OF FILING OF PROOF OF CLAIM BY DEBTOR


NOTICE IS HEREBY GIVEN 12/13/17 the debtor, has filed a proof of claim pursuant to Federal Rules of
Bankruptcy Procedure 3004 for the following creditors:


                                                     Loancare Inc
                                                     PO Box 8068
                                                   ATTN OFFICER
                                               Virginia Beach VA 23450

                                             Amount of Claim $ 158700.00




The deadline for filing is 12/4/17, except that the deadline for filing claims by a governmental unit is 1/17/18.

                                                             BY THE COURT

Dated: 12/13/17                                              MATTHEW T LOUGHNEY
                                                             Clerk

                                                             BY: /s/ amd
                                                             Deputy Clerk


A copy of this notice shall be mailed by the clerk after entry on the docket to the debtor(s), the attorney for the
debtor(s), the chapter 13 trustee, and the above listed creditor.




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